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v. : COMPLAINT

MARK DAVID SHAPIRO, PHILIP B. MURPHY, :
THOMAS GERALD DAHLEN, JR., ALBERT
M. ABB()OD, and JAMES H. THATCHER,

Defendants.

 

Plaintiff Securities and Exchange Commission (“Commission”) alleges:
SUMMARY

l. This case involves federal securities law violations by former executives of the
Fleming Companies, lnc. (“Fleming”), which, prior to its banl<:ruptcy, had been publicly traded
and among the nation’s largest grocery Wholesalers. Defendants conducted their fraud to create
the illusion that Fleming was financially strong and growing When, in fact, the company’s
earnings Were suffering, largely because of the financial Weal<;ness and, ultimately, banln'uptcy of
its largest customer, Kmart Corporation. Defendants employed numerous measures, Which they
called “initiatives,” to “bridge the gap” between Wall Street expectations and the company’s
disappointing actual operating results The number and impact of the initiatives increased

sharply during the fourth quarter of 2001 and the first two quarters of 2002, in the face of

mounting pressure on Fleming’s earnings

 

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2. As part of their scheme, each Defendant was involved in obtaining bogus side
letters from Vendors that Fleming used to improperly accelerate accounting recognition of the
vendors’ up-front payments, which inflated the company’s earnings ln turn, the inflated
earnings allowed Flerning to meet external analyst expectations and thereby prop up Fleming’s
stock price. ln addition, near the ends of the first and second quarters of 2002, Defendants
Murphy and Shapiro directed or knew about (but did not correct or disclose to the public)
Fleming’s massive inventory purchases - occasionally of perishable and out-of-date or almost
out~of-date products - solely to generate cash and volume discounts, which were recognized
immediately to boost earnings Shapiro also directed the release of sizable accounting reserves,
Without justification or disclosure, which increased Fleming’s fourth quarter and full year 2001
earnings Lastly, the Fleming Retail Group (“FRG”), under Defendant Dahlen’s management,
manipulated the calculation of same-store sales h an important industry performance metric - to
falsely report positive same-store sales growth.

3. The misstatements resulting from Defendants’ wrongdoing were material The
misstatements accounted for all of Fleming’s reported pre-tax earnings for the fourth quarter of
2001, and accounted for approximately 43% of the company’s 200l earnings; almost 45% of
Flerning’s first quarter 2002 pre-tax earnings; and over 60% of Fleming’s second quarter 2002
pre-tax earnings

JURISDICTION AND VENUE

4. This Court has jurisdiction over this action under Section 22(a) of the Securities

Act of 1933 (“Securities Act”) [15 U.S.C. § 77u(a)] and Section 27 of the Securities Exchange

Act of1934 (“Exchange Act”) [15 U.S.C. §§ 78u(e) and 78aa].

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5 . Defendants have, directly and indirectly, made use of the means or
instrumentalities of interstate commerce and/or the mails in connection with the transactions
described in this Complaint.

6. Venue is proper in this Conrt under Section 22(a) of the Securities Act [15 U.S.C.
§ 77u(a)] and Section 27 of the Exchange Act [15 U.S.C. §§ 78u(e) and 78aa] because certain of
the acts and transactions described herein took place in the Eastern District of Texas.

DEFENDANTS

7. Mark David Shapiro (“Shapiro”), was Fleming’s principal accounting officer and
senior Vice president of finance and operations during the relevant periods He was promoted to
chief financial officer shortly before Fleming’s April 2003 bankruptcy Earlier in his career,
Shapiro was licensed as a certified public accountant in the State of New Yorl<, and had Worked
as an auditor for a large national accounting firm. He was responsible for ensuring Fleming
complied with generally accepted accounted principles (“GAAP”).

8. During all periods relevant here, Philip B. Murphy (“Murphy"" , was vice
president in charge of Fleming’s wholesale procurement department He resigned shortly after
Fleming’S bankruptcy

9. From approximately April 2001 through the summer of 2002, Thomas Gerald
Dahlen, Jr. (“Da.hlen”), was president of FRG. He left Flerning in the summer of 2002.

10. From October 2001 through May 2002, Albert M. Abbood (“Abbood”), was a
vice president in Fleming’S Wholesale procurement department reporting to Murphy.

ll. During all periods relevant here, .1 ames H. Tbatcher (“Thatcher”), was a ‘vice

president in FRG’s procurement group reporting to Dahlen.

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12. Fleming Cornpanies, lnc., an Oklahoma corporation previously headquartered in
Lewisville, Texas, filed Chapter ll bankruptcy proceedings in April 2003. Before that,
Fleming’s stock traded on the New York Stock Exchange and, at one time, the company was the
nation’s largest grocery wholesaler, with approximately 50 major distribution centers across the
country, and a sizable retail grocery operator as well, with more than 100 stores throughout the
Midwest and West. Fleming’s 2001 and 2002 reported revenues were approximately 315.6
billion and $15.5 billion, respectively, but its earnings in those years were relatively much
smaller, with only a 323.3 million profit and an 384 million loss, respectively. ln September
2004, Flerning emerged from bankruptcy reorganized around its subsidiary, Coremark
Intemational, lnc., a convenience store distributor it acquired in June 2002.

13. FRG is the Fleming division that conducted Fleming’s retail operations Dahlen
was president of FRG from approximately April 2001 through approximately June 2002.

FIeming’S Core Business Begins to Suffer

14. In late 2001 and the first half of 2002, Fleming faced anticipated earnings
_ shortfalls resulting from a series of business and financial challenges many of which stemmed
from its February 2001 agreement to be Kmart Corporation’s sole supplier. Fleming initially
touted this arrangement as a major victory and substantially expanded its facilities (and debt
load) to handle the new business Fleming hoped that this agreement and resulting expansion
would provide economies of scale and greater purchasing power, which Would result in greater
returns for its overall wholesale business The Kmart arrangement, however, failed to yield the

anticipated efficiencies and, when Kmart filed bankruptcy in January 2002, Flerning’s future

viability came under intense scrutiny

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15. Simultaneously, Flerning’s primary wholesale customer base, the small to
medium-sized independent grocer, faced adversity on a number of frontsJ including a depressed
national economy and heightened competition from low-cost supercenter chains (such as Wal-
Mart Stores lnc.) encroaching into the rural and suburban areas the independents had long
dominated As these and other pressures drove these grocers out of business or into mergers
with larger, self-supplying grocery chains, Fleming found it harder to generate its historical
returns from this business

16. Fleming experienced other earnings pressures as well. For instance, in late 2000
and early 2001, Fleming began centralizing many of its business functions, most prominently its
procurement department Traditionally, Fleming’s distribution centers handled most of their
own procurement, which provided a substantial part of each distribution center’s internal margin
By centralizing this function and purchasing on a national rather than local or regional scale,
Fleming hoped to obtain better prices from vendors and thereby improve its overall margins
These benefits did not materialize and, instead, Fleming was increasingly at odds with the vendor
community

17. FRG also pressured Fleming’s bottom line. Despite contrary public
representations FRG was not performing as well as expected Securities analysts referred to
FRG as a “growth vehicle” for Fleming’s future, based largely on the strong same-store sales
figures Fleming reported during 2001. However, these figures were misleading, as FRG’s real
same-store sales performance was negative

Fleming Relies on Improper “Initiatives” to Address Earnings Shortfalls
18. Senior Fleming management, including Shapiro and Murphy, closely monitored

Fleming’s financial results as compared to the market’s expectations When Fleming could not

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generate enough revenue to meet its goals, Defendants cobbled together fraudulent initiatives to
“fill the gap” between Fleming’s actual and expected results

l9. The initiatives were detailed on “initiative lists” identifying special transactions
and cost-saving measures - legitimate and illegitimate ~ to which different Fleming departments
had committed to help fill earnings gaps These lists identified the amount of income generated
by each transaction and its impact on Fleming’s earnings per share. The initiative lists were
circulated at weekly senior executive meetings - attended by Murphy and Shapiro ~ to track
Fleming’s financial progress

20. The wholesale procurement department bore the heaviest burden at Fleming for
delivering initiatives to fill earnings gaps Murphy, as department head, was responsible for
finding and consummating these initiatives Murphy’s department maintained its own initiative
lists, which Murphy carefully monitored and enforced This list detailed the initiatives
contributing the vast majority of the company’s projected eamings, and ultimately was “rolled
up” into the company-wide initiative list prepared for senior management As quarters wound
down, l\/lurphy held “locl<-down” meetings with his procurement team, from which no one could
leave until the earnings gap was filled with initiatives

21. Murphy scrutinized this list and pushed his subordinates including Abbood, to do
“whatever is necessary” to fulfill the initiatives For instancel lie regularly told his staff to get
side letters linking vendor payments to past performance and describing them as “non-
refundable,” because l\/lurphy contended that these “magic words” would permit immediate
recognition of the full payment in earnings Yet Murphy knew that these payments were

unrelated to any past performance but instead obtained some future right for the vendors

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22. Thatcher headed FRG’s procurement group, the retail-side equivalent to
l\/lurphy’s wholesale procurement group. Like Murphy, Thatcher was under intense pressure to
deliver initiatives ln response, he also obtained misleading side letters to fill Fleming’s earnings
gaps, instructing his subordinates “You know the drill, structure the money so we can book it on
the front side.” When his subordinates questioned his methods, he snapped, “[t]he company is
not asking for a vote on this one.”

23. Shapiro engaged in the sort of eamings manipulation that, as the principal
accounting officer, he was supposed to prevent He knew or recklessly ignored that Murphy’s
and Thatcher’s groups secured misleading side letters from vendors to accelerate recognition of
the vendors’ up-front payments In fact, he even stepped into stalled negotiations with vendors
to “close the deal” and secure the desired side letter. He also directed or permitted improper
accounting for other initiatives, sometimes overriding decisions made by lower-level accountants
who questioned the documents and information provided by procurement When procurement
complained about the accountants’ “meddling,” Shapiro chided them to become more
“operational friendly.”

Fourth Quarter 2001 Initiatives
Velrdor Side Letters

24. Grocery industry vendors routinely pay wholesalers and retailers up-front monies
to secure advantages such as favorable product positioning or exclusive supplier status To the
extent these are future advantages GAAP requires the wholesaler or retailer to recognize the
payments over time either as revenue or as cost-of-goods-sold offsets, rather than up-fronto See
Statement of Financial Accounting Concepts No. 5, 111[83-84; Staff Accounting Bulletin No. 101,

Revenue Recognir.ion in Financz`al Statements, Topic 13:A.3, Question 5.

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25. ln the fourth quarter, Defendants Shapiro, Murphy, Abbood, and Thatcher
procured misleading side letters from five vendors - Food Marketing Group (“FMG”), Digital
Exchange Systems lnc_ (“Dexsi”), Kraft Foods lnc. (“Kraft”), Kemps LLC, f`/k/a Marigold
Foods, LLC (“Marigold”), and Frito Lay, lnc. - to inflate Flerning’s earnings in violation of
GAAP. Each of these letters mischaracterized the vendors’ up-front payments as “rebates” or
other compensation for alleged past performance As Defendants knew or recklessly ignored,
the payments actually induced some future performance by Fleming or secured Some future right
for the vendor.

Food Marketing Group

26. FMG was one of Flerning’s “diverters.” Diverters scour the market for special
deals typically buying from other wholesale or retail companies or from inventory liquidators
who have too much inventory of a given product and sell the excess at deep discounts to the
manufacturer’s list price. Diverters make money by selling to its customers at prices higher than
their purchase price, but still at sharp discounts to list price.

27. ln late 2001, Abbood approached FMG to try to fill some of Fleming’s earnings
gap. At a meeting scheduled to promote FMG’s diverting capabilities Abbood instead
demanded that FMG pay Fleming $2 million to be described as a rebate based on 2001
purchases FMG did not want to pay this amount because it did not owe Fleming any such
rebate. Abbood threatened to terminate its business if Fl\/IG refused

28. Surprised by Abbood’s demands FMG appealed to Murphy, Abbood’s boss with
whom it had a long-standing relationship Murphy, however, reiterated Abbood’s demands

29. FMG eventually agreed to pay Flerning $2 million but refused to characterize it as

a rebate for 2001 purchases FMG also required Fleming’s simultaneous commitment to divert a

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specified amount of product through FMG during 2002 to offset this payment FMG insisted
that Fleming guarantee the volume commitment in writing FMG’s representatives then worked
with Shapiro to craft an acceptable agreement

30. Shapiro and FMG’s CFO spent several days negotiating the structure of the
arrangement After exchanging multiple drafts Shapiro convinced FMG to memorialize Fl\/IG’s
32 million payment and Fleming’s reciprocal 2002 diverting obligations in Wte letters
Shapiro wanted two letters to help him conceal the true nature of the transaction from Fleming’s
internal accountants and external auditors

31. Shapiro, however, failed to convince FMG to agree to language expressly linking
FMG’s 32 million payment to past business between the companies After further word-
smithing, Shapiro finally persuaded FMG to accept a letter generally referring to a “rebate” and
stating c‘We look forward to working together to achieve an even more successful 2002,”
language Shapiro knew would enable Fleming to immediately recognize the entire payinth and
withstand scrutiny by Fleming’s inquiring internal accountants and extemal auditors
Simultaneously, the parties finalized the second letter requiring repayment of the 32 million
unless Fleming sourced 3100 million worth of inventory from FMG in 2002. Not coincidentally,
32 million equaled the diverting savings Fleming normally would have received on 3100 million
in purchases through FMG.

32. Because the 32 million payment was linked to 2002 performance (namely,
Fleming’s obligation to buy at least 3100 million in inventory through Fl\/IG), GAAP required
Fleming to recognize this payment on a prorated basis throughout 2002. ShapiroJ as Fleming’s

principal accounting officer and as a former CPA and auditor, knew this

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33. Fleming, however, did not record the FMG payment as required by GAAP. To
the contrary, Shapiro presented the “rebate” letter to Fleming’s internal accountants and external
auditors Deloitte & Touche, to justify booking the entire 32 million immediately as an offset to
Fleming’s cost of goods sold (“COGS”), which increased Fleming’s income by the same
amount Shapiro never showed them the second letter, which expressly linked the 32 million to
Fleming’s obligation to perform in the future.

34. Shapiro’s deception in the FMG transaction did not end with providing Deloitte
and Fleming’s internal accountants only half of the transaction documents As part of its audit of
Fleming’s 2001 financial statements Deloitte prepared “confirmation” letters addressed to
various Fleming vendors (including FMG) asking them to confirm details of their 2001
transactions with Fleming. These letters went out under Fleming letterhead and were signed by
Shapiro as Fleming’s principal accounting officer. By signing these letters Shapiro implicitly
represented to Deloitte that the letters accurately and completely described the transactions
outlined therein.

35. The confirmation letter to FMG that Shapiro signed, however, did not accurately
or completely describe the parties’ transaction This letter asked Fl\/IG to confirm that “Fleming
had earned a 32 million rebate for [Fleming’s] business with Fl\/IG in 2001” and that “[r]his
rebate is not connected to any future commitments made Fleming and is non-refundable.”
(emphasis added). Shapiro knew when he signed this letter that these statements Were untrue and
not confirmable by FMG for that reason. Yet he did not advise Deloitte or the public of this fact.

36. FMG refused to sign the audit confirmation letter because it knew that Fleming
had not earned the 32 million payment in 2001, and that the payment was directly connected to

Fleming’s 2002 sourcing commitment Shapiro and l\/lurphy pressured Fl\/lG to sign the letter,

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but FMG still refused Neither Shapiro nor Murphy ever told Deloitte why FMG refused to sign
the audit confirmation
Dexsi

37. Dexsi was another diverter with which Fleming did business Dexsi Was a small
company heavily dependent on Fleming’s business Dexsi first began working with Fleming in
approximately October 2001 and, over the next two months, made a substantial investment
(relative to its small size) in personnel and equipment to “ramp up” for the Fleming business

38. To help fill the projected earnings shortfall for the fourth quarter and full year
200l, Abbood approached Dexsi demanding a $2 million payment and a letter falsely attributing
the payment to past performance l\/lurphy knew of and approved Abbood’s actions Abbood
threatened to pull all Fleming business from Dexsi if it refused.

39. Knowing that the letter Fleming wanted was false, but recognizing its precarious
position, Dexsi acquiesced to Fieming’s demands ln return, however, Dexsi secured Abbood’s
agreement to allow Dexsi to recoup the $2 million by charging Fleming a higher-than-nonnal
price on diverting purchases

40. Abbood provided Dexsi two documents respectively labeled “Letter #l ~
[Fleming’s] internal copy” and “Letter #2 _ [Dexsi’s] internal copy.” “'Letter l” described the 32
million payment as a non-refundable rebate for prior business between the companies This is
the letter Abbood gave to Fleming internal accountants to support recording the entire 552 million
immediately as an offset to COGS in the fourth quarter 2001. However, “Letter 2” which
Abbood signed at the same time as Letter l, confirmed the recoupment agreement Abbood and
Murphy never gave Letter 2 to Fleming’s internal accountants or Deloitte.

Kraft

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41. Kraft, one of the nation’s largest food producers was one of Fleming’s largest
suppliers During 2000 and into 2001, Fleming’s relationship with Kraft Suffered because
Fleming assessed too many unauthorized “deductions” against Kraft invoices Deductions on
invoices are relatively common in the industry and normally result from such things as shipments
that are late or contain the wrong number or type of product. But Kraft perceived that -Fleming’s
deduction practices were considerably more aggressive than its competitors’ and had gotten out
of hand by early 2001. ln fact, by February 2001, Kraft argued the balance of unauthorized
deductions totaled approximately $14 million.

42. Kraft also was unhappy with Fleming’s diverting of Kraft products Fleming
diverted Kraft products in two ways First, it sourced inventory for its own sales through
diverters a practice called “inbound” diverting Second, it purchased large volumes of product
from Kraft at special discounts and then sold the excess amount to diverters who sold it at
below-list prices outside Fleming’s normal distribution channels This practice is called
“outbound” diverting. For Kraft, both forms of diverting harmed the promotion of its products
vendors like Kraft typically pay wholesalers and retailers to promote their products and these
payments ordinarily are based on the volume of product purchased from the vendor. By
breaking the link between vendor and wholesaler or retailer, diverting distorted and obstructed
the flow of promotional money, which vendors considered detrimental to sales to ultimate
consumers

43. Fleming and Kraft met on several occasions during early 2001 to resolve these
concems, Murphy attended most of these meetings which culminated in two agreements First,
in April 2001, the parties executed a one-year “no-divert” agreement, under which Kraft agreed

to pay Fleming $7.5 million to waive certain promotional fees and to refrain from diverting Kraf’t

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products Then, in lune 2001, the parties agreed to a one-year “preferred vendor” agreement,
under which Kraft would pay more than $lO.7 million in return for Fleming’s commitment to
eliminate various types of deductions and fees The parties also agreed to resolve the millions of
dollars of unauthorized deductions that Fleming had taken against Kraft invoices at that point.

44. ln December 2001, Abbood asked Kraft to accelerate payment of $l.65 million
under the no-divert agreement Murphy knew of and approved this request Under the terms of
the no-divert agreement these funds were not due until the first quarter of 2002 and Were subject
to other criteria, such as that they would “pass through” to Fleming’s retail customers to help
promote Kraft products Kraft nevertheless agreed to make the payment in December 2001.

45. Merely accelerating, however, the payment was not enough. Abbood and Murphy
also needed to accelerate accounting recognition of the payment to help fill the anticipated fourth
quarter and full year 2001 earnings gap. Abbood therefore prepared a letter for Kraft to sign
misrepresenting that the $l.65 million was an “offset” to purported °‘administrative costs” under
the no-divert agreement As Abbood and Murphy knew, there were no such costs to offset and
the no»divert agreement made no provision for such offsets lnstead, they wanted the letter
solely to-support Fleming’s recognition of the entire $l.65 million in the fourth quarter of 2001
as an offset to COGS.

46. Abbood and Murphy submitted the side letter to Fleming’s internal accountants
and Deloitte without explaining that there were no “administrative costs” to “offset” or that
Fleming would not earn the funds until the first quarter of 2002. Fleming improperly recorded

Kraft’s $1.65 million payment as an offset to COGS, thereby inflating the company’s earnings

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Marigold

47. l\/larigold was a dairy product supplier. ln the fourth quarter of 2001, the
wholesale procurement department initiative list included securing $2 million in immediately
recognizable revenue or COGS offsets from Marigold Accordingly, one of l\/lurphy’s
subordinates approached Marigold at the end of 2001 to negotiate an agreement to supply ice
cream to Fleming’s wholesale operations for three years in return for a $2 million up~front
payment

48. Under GAAP, the $2 million payment could not be recognized in full
immediately if it was tied to Fleming’s performance under the supply agreement Accordingly,
l\/lurphy’s subordinate demanded, with l\/lurphy’s knowledge and approval, that Marigold remove
the payment terms from the supply agreement and place them in a separate side letter.

49. A draft of the side letter was brought to Shapiro for approval in December 2001.
Shapiro rejected it because it failed to link the payment to past performance and, therefore,
would not support recognizing the entire $2 million in 2001. Shapiro instructed that the side
letter must describe the payment as “non-refundable” and a “rebate” for 2001 purchases

50. Shapiro and l\/lurphy knew Marigold did not owe Fleming a $2 million rebate for
2001 purchases indeed, Marigold’s margin for ice cream sales was only $425,000. l\/larigold,
however, eventually viewed this payment as the “ante” to obtain the supply agreement and
expand its overall business with Fleming, and therefore agreed to provide a side letter describing

the payment as a “non-refundable” “rebate” based on “200l purchases.”

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5l. Before providing the side letter, however, Marigold required a penalty provision
in the supply agreement obligating Fleming to repay the $2 million on a pro rata basis if
Fleming failed to buy a certain volume during the agreement’s terrn. Fleming agreed

52. Marigold would not have paid the 32 million without receiving the supply
agreement with the penalty provision, and Fleming would not have given Marigold the supply
agreement without receiving the 32 million. Therefore, the two Were directly and inextricably
linked and, under GAAP, Fleming was required to defer recognition of the $2 million payment

over the supply agreement’s three-year term.

53. Fleming ignored GAAP. Using the side letter as justification, Fleming booked the
entire $2 million as on offset to COGS in the fourth quarter of 2001.

54. As part of its audit of Fleming’s 2001 financial statements Deloitte sent Marigold
a confirmation letter asking for confirmation that the $2 million payment was a “rebate” for
Fleming’s “actual 2001 purchases,” was “not connected to any future commitments” and was
“not refundable.” Like the FMG confirmation letter, Shapiro signed this letter on Fleming’s
behalf, despite knowing that the $2 million payment was directly connected to Fleming’s
commitment to perform under the Mari gold supply agreement

Frito-Lay

 

55. Frito-Lay, a subsidiary of PepsiCo lnc., is a leading snack manufacturer. In
December 2001, Thatcher and Frito-Lay negotiated an agreement that Would pay Fleming for
achieving certain sales targets during 2002. The agreement included a $400,000 incentive for
Fleming to set up certain new product store displays by February 2002. Thatcher, however,

wanted to recognize the $400,000 immediately to help Fleming meet its earnings shortfall

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56. Hoping to accelerate recognition of the $400,000, Thatcher and his subordinates
(at his direction) asked Frito Lay to provide a letter representing that the 3400,000 payment was
for “snack placement,” which it did

57 . Thatcher directed his group to submit this letter to Fleming’s accounting
department to support revenue recognition, but Fleming accounting rejected it, explaining that
the payment could not be recognized unless it related to “past performance” and was “non-
refundable.” A new letter incorporating the required language was prepared and backdated to

conform to the first letter and presented to Frito Lay, which signed it.

58. Fleming accounting accepted this revised letter and booked the $400,000 as
revenue As Thatcher knew, Fleming had not earned the S400,000 before the 2001 fiscal year-
end and, in fact, never earned it.

Improper Rednction of Reserve Balances

59. From time to time, Fleming established liabilities or contra-assets on its balance
sheet for various payments it anticipated making or losses it anticipated it would incur. Under
Statement of Financial Accounting Standards No. 5, Acconntingfor Contr`ngencies (“FAS 5”), a
company must establish such reserves for identifiable, probable and estimable risks Any
reserves that do not meet the accrual requirements of FAS 5, when identified, should be
immediately released into income However, the systematic release of reserves for the purpose
of “smoothing” or inflating earnings violates GAAP.

60. After Fleming’s 2001 books closed, Fleming still faced an earnings shortfall.
Shapiro instructed one of his subordinates to release accounting reserves of approximately $7.8

million By releasing reserves Shapiro was able to increase Fleming’s earnings for the fourth

quarter and year-end 2001 by the same amount

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61. The release of these reserves was not premised upon new experience or better
inforrnation, but instead was done solely to prop up Fleming’s sagging earnings For instance,
reserves for bad debts principally from Fleming’s then-struggling customer base, comprised the
largest part of this release of reserves even though there had been no improvement to these
borrowers’ creditworthiness (or any other change) to warrant the reduction To the contrary,
Fleming’s customer base had been crippled by the post-9/ll economic downturn and the rise of
Wal-l\/lart’s dominance in the grocery market, increasing the likelihood of default

62. Similarly, Shapiro, with l\/lurphy’s input, also authorized the improper release of
reserves set aside to cover Fleming’s expected repayment of deductions from vendor’s invoices
Historically, Fleming had relied heavily on such deductions to support its profit margins a
reliance Abbood once likened to a “heroin habit.” lndeed, Fleming had a reputation in the
industry for taking extensive unauthorized deductions against vendor invoices which strained
vendor relations (such as with Kraft), ln many cases after negotiating with the vendor, Fleming
paid back Some or all of the unauthorized deduction Fleming was obligated under FAS 5 to set
up reserves at the time deductions were taken against any paybacks that were probable to occur
and reasonably estimable. Shapiro, Fleming’s principal accounting officer and CPA, knew this

63. Deductions disputed by vendors increased sharply during the last half of 2001, as
Fleming became more aggressive in deducting against vendor invoices By November 2001,
Fleming’s disputed deduction balance had ballooned beyond $60 million Abbood maintained a
log listing the disputed deductions which he shared with Murphy.

64. Murphy and other procurement personnel _ who were best positioned to know
because of their close and constant contact with vendors - recognized it was probable that $20

million of this amount would have to be repaid Shapiro was specifically told on December 21,

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2001 that “Phil Murphy anticipates that we will have $20 million in vendor paybacks in 2002
that relate to 2001 deductions Obviously, if this is true, we have a problem in that income has
been recognized in 200l that really is not valid.” Yet, as Shapiro knew, Fleming’s reserve for
paybacks was only $8.8 million Rather than increase the reserve to meet these probable
payback obligations however, Shapiro authorized a reduction in the rate at which Fleming
reserved against such paybacks. As Shapiro knew or was reckless in not knowing, these reserve
reductions violated GAAP because they were not justified by the information he had To the
contrary, because the amount of paybacks was probable and reasonably estimable, Shapiro
should have caused Fleming to record an additional $ll.Z million of reserves for paybacks
(which would have reduced Fleming’s pre-tax earnings for 2001 in a like amount).

65. Despite the materiality of these released reserves to Fleming’s quarterly and
annual earnings Shapiro did not cause Fleming to disclose to investors that Fleming was
reducing these reserves See Accounting Principles Board Opinion No. 20, Acconntr'ng Changes
(“APB 20”) 11 33. ln fact, Fleming actually informed securities analysts during a September 5,
2002 conference call that Fleming’s c‘reserve practices ha[d] not changed on a historic basis at
all.” The failure to disclose the release of reserves was misleading because it created the
impression that Fleming’s earnings for the fourth quarter and hill year 2001 were based upon
legitimate accounting rather than brazen earnings manipulation

Impact on Fourth Quarter 2001 and 2001 Year-End Financial Results
66. Tog_ether, the vendor side letters and release of accounting reserves totaled 327.05

million in the fourth quarter 200l, which exceeded Fleming’s reported fourth quarter 2001 pre-

tax earnings of approximately $26.9 million

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67. Fleming’s 2001 annual results likewise would have been materially different
Fleming reported pre-tax annual earnings of $62.8 million Had it properly accounted for the
initiatives its annual pre-tax earnings would have declined approximately 43%, to $35.75
million

68. Fleming included these fraudulently inflated figures in its 2001 Form 10-K, filed
with the Commission on March 6, 2002. Shapiro, as Fleming’s principal accounting officer,
signed the Form lO-K. These figures also were included in Fleming’s press release of February
13, 2002, reporting fourth quarter and year-end 2001 financial results Shapiro reviewed and
approved the issuance of this release

69. Shapiro also signed the management representation letter, dated February 13,
2002, relied upon by Deloitte as part of its audit of Fleming’s 2001 financial statements ln this
letter, Shapiro certified to Deloitte that, among other things:

o Fleming’s 2001 financial statements were “fairly presented in conformity with
accounting principles generally accepted in the United States of America”',

¢ “all [f]inancial records and related data” had been provided to Deloitte;

¢ there had “been no fraud or possible irregularities involving management or
employees who have significant roles in internal control”;

¢ the “unaudited interim financial information accompanying the consolidated
financial statements for each of the quarters in the year[] ended December 29,
2001 has been prepared and presented in conformity With accounting
principles generally accepted in the United States of America”;

0 there had “been no fraud or possible irregularities involving employees (other
than management or those who have significant roles in internal control ...) that
could have an effect on the financial statements”;

¢ there were “no [o]ther liabilities or loss contingencies that are required to be
disclosed by” FAS 5, except as already disclosed in the notes to the financial

statements and

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¢ “all estimates where it is reasonably possible that the estimate will change in the
near term and the effect of the change could be material to the financial
statements” had been disclosed

These representations were false, as Shapiro knew or recklessly disregarded
Fleming’s Problems Continue in 2002
First Quarter 2002 Initiatives

70. Fleming’s earnings pressures did not relent in 2002. Kmart’s January 2002
bankruptcy actually increased the pressure, as analysts and investors scrutinized how the
company responded to Krnart’s collapse As it approached the end of the first quarter 2002,
Fleming again was falling Short of analysts’ expected earnings and Defendants turned once more
to improper initiatives Fleming’s first quarter 2002 ended on April 20, 2002.

Vendor Side Letters
Dean Foods

71. Dean Foods is a publicly traded dairy supplier based in Dallas. FRG was a major
Dean customer.

72. Beginning in early 2002, Fleming and Dean began negotiating a supply agreement
under which Dean would provide Fleming’s retail operations with milk for three years Thatcher
handled the negotiations for FRG. Throughout the negotiations Thatcher told Dean that, to
receive the supply agreement5 Dean would have to make an up-front payment in the $2 million
range Ultimately, the parties agreed on a $2.5 million up-front payment

73. Dean would not have paid the $2.5 million but for receiving the supply

agreement, and Fleming would not have given Dean the supply agreement but for the $2.5

million payment Reflecting this intent, earlier drafts of the supply agreement contained express

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payment terms together with a penalty clause requiring Fleming to repay Dean’s up-front
payment on a prorated basis should Fleming breach the agreement during its term.

74. Toward the end of negotiations however, Thatcher demanded that the payment
provision be removed from the supply agreement and instead inserted into a separate side letter.
Thatcher knew that Fleming’s internal accountants (who were already suspicious of him from the
Frito Lay transaction) and Deloitte would immediately recognize that the payment and the
agreement were linked, thereby precluding immediate recognition of the entire $2.5 million
Thatcher provided Dean With a marked-up version of the side letter Marigold provided in
December 2001. The marked-up version described Dean’s payment as a “rebate” for “past
performance.” Thatcher knew Fleming had not earned any such rebate and that the up-front
payment was consideration for the supply agreement

75. Dean, however, balked at providing the side letter, so Thatcher turned to Dahlen
for help. Dahlen eventually convinced Dean to describe the payment as a rebate, which allowed
Fleming to “take it as income” in full in the first quarter 2002. Dean remained adamant,
however, that the $2.5 million payment was directly tied to the supply agreement and was not
truly a “non-refundable” “rebate.” Dean therefore insisted that the penalty clause - requiring
prorated repayment of the $2.5 million if Fleming breached - remain in the supply agreement
Thatcher agreed On March 20, 2002, the Dean executive handling the negotiations emailed one
of Thatcher’s subordinates “The [side letter] will be signed and the money transferred as soon as
we agree on the supply agreement.” Dahlen then signed the supply agreement and Dean paid the
$2.5 million and delivered the letter Thatcher desired

76. Thatcher then presented the side letter to FRG’s accounting department to support

recognizing the entire 325 million as an offset to COGS in the first quarter 2002. This

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recognition violated GAAP because the payment was directly linked to Fleming’s performance
under the supply agreement and was refundable in case of Fleming’s breach. Therefore,
Fleming should have recognized this payment ratably over the three-year term of the supply
agreement Thatcher, however, intentionally withheld the supply agreement from FRG
accounting

77. After Thatcher submitted the agreement to FRG accounting, an FRG accountant
asked Thatcher whether the “rebate” was connected with any other agreement Thatcher lied and
told him it wasn’t.

78. The FRG accountant then called Dean, which forwarded him a copy of the supply
agreement Armed with these documents and Thatcher’s lack of candor, the FRG accountant
brought the matter to members of Fleming’s central accounting office, who then brought the
matter to Shapiro in early April 2002. They shared with Shapiro the accountant’s concern that
documents had been withheld from accounting and that GAAP required the $2.5 million to be
recognized over the three-year term of the supply agreement

79. Recognizing that Fleming needed this payment to meet its quarterly numbers
Shapiro dismissed their concerns and instead admonished the accounting group not to question
documents submitted by procurement However, from his own prior involvement in the FMG
and l\/larigold side letters Shapiro knew that the dual documentation of the Dean transaction was
standard practice at Fleming for improperly accelerating earnings recognition of up-front
payments connected with forward-looking agreements

80. At Shapiro’s direction Fleming recorded the entire $2.5 million payment as an

offset to COGS in the first quarter 2002, which increased Fleming’s pre-tax earnings for the

quarter by the same amount

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81. in May 2002, during its review of Fleming’s first quarter 2002 financial
statements Deloitte stumbled across the Dean side letter and obtained a copy of the supply
agreement Deloitte then questioned Shapiro about the dual documentation Shapiro reacted
with feigned surprise at the two documents as though he had not already known the full details
of the transaction l-le told Deloitte he would “investigate” the matter to ascertain if the side
letter and supply agreement were part of the same transaction He never told Deloitte that he
had already been advised of the matter, that the circumstances of the two documents’ preparation
were highly suspicious or that he knew that the dual documentation was part of Fleming’s effort
to fraudulently accelerate recognition of the $2.5 million into earnings lnstead, he advised
Deloitte a few weeks later that the side letter and supply agreement were not related

Marigold

82. ln early 2002, Marigold secured rights to supply FRG’s Milwaukee stores with
dairy products for three years in exchange for a $400,000 up-front payment FRG employees
directly reporting to Thatcher negotiated this arrangement

83. After the terms of the supply agreement were finalized, Thatcher instructed his
subordinates to carve out the payment temis from the deal and secure a side letter
mischaracterizing the up-front payment as compensating past performance, telling his employees
in a March 2, 2002 email, “You know the drill, structure the money so we can book it on the
front side.” Eventually, Marigold provided a side letter mischaracterizing the payment as
“growth funding” for “past performance.”

84. As with the Dean transaction Thatcher misled FRG accountants about this deal,

representing to them that Marigold’s payment was not connected to any future Fleming

obligation On the basis of the side letter and Thatcher’s misrepresentations Fleming recorded

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the entire $400,000 as an offset to COGS during the first quarter 2002, which increased
Fleming’s pre-tax earnings for the quarter by the same amount
Dexsi

85. ln April 2002, Abbood again demanded Dexsi’s help to fill the anticipated first
quarter 2002 earnings shortfall. He demanded that Dexsi pay $4 million and provide a side
letter describing the payment as reimbursement of “warehouse expenses” that Dexsi purportedly
had incurred during the quarter. Abbood described the payment in this fashion to avoid
questions from Fleming’s internal accountants and Deloitte. Like the December arrangement
Abbood agreed to a reciprocal agreement allowing Dexsi to charge higher diverting prices to
recoup its payment

86. As Abbood knew, Dexsi did not owe Fleming reimbursement for any
“warehouse” expenses but, fearing expulsion Dexsi nonetheless signed the false letter, which
was dated April 10, 2002. Abbood took the letter to Fleming accounting to support recognizing
the full $4 million as an offset to COGS in the quarter, which increased Fleming’s pre-tax
earnings for the quarter by the same amount

87. Murphy knew about and approved this transaction having received an email in
April 2002 alerting him to the transaction’s structure, including the terms of the recoupment
mechanism

Kraft

88. In early 2002, Abbood began negotiating an extension of the no-divert agreement

with Kraft, which was to expire in April 2002, when Fleming’s first quarter ended. Kraft agreed

to pay $5.6 million to extend the no-divert agreement to December 3l, 2002. This sum was

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payable in installments over the rest of the year. The parties signed a separate extension
agreement memorializing these terms.

89. Fleming, however, needed to recognize the $5.6 million in the first quarter of
2002 to meet its quarterly earnings targets Therefore, shortly before the quarter ended, Murphy
and Abbood met with their Krait counterpartsl Desperate to characterize the payment in such a
way that would permit immediate recognition Abbood first requested that Kraft provide a
“clear-cut rebate” to “true up” the original no-divert agreement Kraft, however, refused because
no “rebate” or “true up” was owed under the agreement and it already had closed its 2001 books.
Moreover, at-the time, Kraft complained that Fleming had an approximately $4 million balance
of unauthorized deductions on Kralt invoices (i.e., Fleming owed Kraft money).

90. As Abbood continued to press Kraft unsuccessfully, Murphy finally interjected
and asked Kraft to “give Al a letter that will allow him to take {the $5.6 million] to income.”

91. Kraft finally agreed to provide Abbood with the requested side letter. Initially,
Kraft provided a letter reflecting that the payment would be paid in installments as the parties
had agreed Abbood realized this language would preclude Fleming from recognizing the entire
payment during the first quarter 2002, so he directed his Kraft counterpart to send a corrected
letter that did not refer to any payment plan but only to the payment being a “non-refundable”
reimbursement for a purported “shortfall” under the parties’ preferred vendor agreement Kraft
agreed and provided a revised version

92. Abbood provided the accounting department with this letter to support booking
the entire $5.6 million as an offset to expenses in the first quarter of 2002. He did not tell the
Fleming accountants or Deloitte that the payment in fact secured an extension of the no-divert

agreement Accordingly, relying on the false documentation Abbood provided, Fleming

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recorded the entire $5.6 million as an offset to COGS in the first quarter 2002, which increased
Flemings pre-tax earnings for the quarter by the same amount This violated GAAP because
Fleming should have recognized the payment on a prorated basis over the agreement’s term

93. A few weeks after Kraft signed the side letter, Abbood began exploring the
possibility of unwinding the deal, because he believed Fleming could earn more by diverting
Kraft’s products When Shapiro learned of Abbood’s intentions to unwind the deal, he
confronted Abbood and told him that Fleming needed the deal to make its quarterly earnings
target He further warned Abbood that unwinding the deal would expose it to Deloitte’s
scrutiny, which would create trouble. The deal therefore was not unwound. Abbood left
Fleming’s employment shortly after this meeting

Excessive Inventory Purchases

94. Peiiodically, vendors offered Fleming rebates or discounted prices to induce
purchases To take advantage of these deals Fleming would make “forward” buys (also called
“block” buys). A “forward” buy is an inventory purchase that exceeds the usual quantity the
purchaser normally would make, generally to take advantage of special pricing offered by
vendors For example, if Fleming normally purchased a six-week supply of a given product it
would “forward” buy, hypothetically, a ten-week supply at the special pricing

95. Fleming’s accounting policies in the first quarter of 2002 provided that it would
record the full amount of such rebates or discounts immediately in the period in which the
inventory was purchased, rather than ratably as the associated inventory was sold. This policy
exposed investors to the risk that Fleming could manufacture earnings simply by purchasing

more and more inventory in a quarter and immediately recording the full rebates or discounts as

offsets to COGS. That is precisely what happenedl

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96. During the first quarter 2002, Fleming concluded it was carrying too much
inventory and decided that inventory levels needed to be reduced, primarily to adjust for the lost
Kmart business The company also believed it could save money by eliminating temporary
warehousing space carrying excess inventory. During a March ll, 2002 analyst call updating its
earnings guidance for 2002 and 2003, Fleming announced it was reducing inventories by 565
million

97. As head of wholesale procurement, Murphy knew better than anyone that
Fleming’s existing inventories were too large. Desperate to fill the remaining earnings shortfall,
however, Murphy directed his subordinates to execute a series of large “forwar ” buys of
inventory, solely to generate discounts or rebates it could record immediately ]n an April lS,
2002, email - two days before the first quarter closed - Murphy instructed his subordinates to
forward buy a specific volume of inventory to fill the remaining earnings gap and thereby “bring
in the lSt Quarter.” Murphy’s email stressed the importance of having invoices in hand before
quarter-end to support immediate recognition of these rebates into earnings Murphy therefore
directed his subordinates to have vendors invoice Fleming immediately and not wait for product
shipment This instruction prompted one immediate rej ection, as a vendor replied, “We cannot
invoice for product that has not shipped We feel that this would raise serious issues with our
auditors and with the current climate, we do not feel like it would be a good decision.”
Notwithstanding this setback, Murphy’s team obeyed and delivered large inventory buys that
generated millions in rebates and discounts that Fleming immediately recorded as an offset to
COGS.

98. These purchases added more than $50 million of merchandise to Fleming’s

already bloated inventory balance and generated rebates or discounts of $5.6 million This

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inventory exceeded capacity at Fleming’s warehouses forcing the company to spend additional
capital to secure temporary storage space. Nonetheless, although it had not earned all of the
rebates or discounts during the quarter, Fleming immediately recorded the entire amount as an
offset to COGS in the first quarter 2002, which increased pre-tax earnings by the same amount

99. These large inventory purchases were not made in the ordinary course of
Fleming’s business but, as Murphy’s own email confirmed, were executed solely to manufacture
earnings to meet external targets Fleming never disclosed to investors that it was generating
material earnings in the quarter through these large inventory purchases Nor did it advise
investors that these large, unnecessary inventory purchases were tying up Fleming’s capital and
costing the company extra warehousing costs Ultimately, because the quantity of unnecessary
inventory was so great Fleming had to sell much of it at steep discounts thereby harming its
margins in future periods investors were not told of this risk, either.

100. Shapiro knew about these forward buys and their true purpose because they were
listed on the “'initiative lists” he (and Murphy) reviewed at weekly senior executive meetings
during late March through mid-April 2002. These buys figured prominently in these lists
because they contributed to Fleming’s earnings and were limited only by how much excess
inventory Fleming was willing to buy. Shapiro knew that Fleming publicly had committed to
reducing already bloated inventories and that big quarter-end buys of unnecessary merchandise
countered this commitment He also knew that these transactions were extraordinary and
intended solely to generate earnings because of their size and the fact that ordinary inventory
purchases such as the ones Fleming made every day, would not be listed as initiatives l~le
further knew that these excessive inventory buys tied up Fleming’s capital and expensive storage

space and likely would have to be sharply discounted to sell, thus driving down future margins

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Therefore, as principal accounting officer, Shapiro was obligated to inform investors of these
transactions and their impact on Fleming’s financial position He did not do so. To the contrary,
Fleming’s May 7, 2002 press release disclosing first quarter results which Shapiro reviewed and
approved, falsely advised the public that the company “[m]ade substantial progress on inventory
reduction through consolidation of slow-moving products . . .”
Impact on First Quarter 2002 Financial Results

lOl. To fill the projected first quarter earnings shortfall, Murphy’s procurement group
was expected to generate 314 million worth of “new” initiatives (i.e,, pre-tax tax earnings
exceeding their original forecast), about one-third of the $41.2 million pre-tax earnings Fleming
reported for the quarter. The Kraft and Dexsi side letters and the excess inventory buys Murphy
instigated contributed $12.2 million to this figure (Murphy had already budgeted $3 million from
Kraft), and thus were prominently displayed on the first quarter initiative lists circulated at senior
management meetings

102. All told, Defendants’ first quarter initiatives described totaled $18.43 million
Fleming reported pre-tax earnings of $41.2 million for the first quarter. Had it properly
accounted for the initiatives its quarterly pre-tax earnings would have declined approximately
44.5%, to $22.77 million

103. These fraudulently inflated earnings figures were included in Fleming’s Form 10-
Q filed with the Commission on May 17, 2002. Shapiro signed this filing as Chief Accounting
Officer. These figures also were included in the May 7, 2002 press release Fleming issued to
report first quarter 2002 financial results Shapiro reviewed and approved this release

104. Shapiro also signed a management representation letter to Deloitte, dated May 7,

2002, confirming to Deloitte that the first quarter 2002 financial statements Deloitte had

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reviewed were “fairly presented in conformity with accounting principles generally accepted in
the United States of America.” He also confirmed that Fleming had made available to Deloitte
“all financial records and related data that would have a bearing on the purpose of your review.”
Because Shapiro knew that the Dean and Kraft transactions had been improperly recorded in the
first quarter financial statements and that Fleming had manipulated its earnings through the use
of excessive purchases of unnecessary inventory, these representations were false.
Second Quarter 2002 Initiatives
More forward buys

105, Fleming’s eamings pressures did not relent in the second quarter of 2002. To
address the anticipated shortfall in meeting analyst expectations Murphy directed additional
forward buys of inventory (some of which was perishable and close to expiration) for the
purpose of manufacturing earnings filling Fleming’s warehouses with excessive inventory.
These purchases approximated $110 million and generated some $8.1 million of rebates or
discounts As it had during the first quarter 2002, Fleming immediately recorded the entire $8.1
million as an offset to COGS, thereby increasing its pre-tax earnings by this amount

106. As with the first quarter forward buys these forward buys were included on
initiative lists that Shapiro and l\/lurphy reviewed at weekly executive meetings during the
quarter. These forward buys were material both in amount and earnings impact, yet Shapiro
never caused Fleming to disclose them, or the liquidity risks and costs associated with them, to
investors ln fact, Fleming advised analysts during a September 5, 2002 conference call that its
inventory levels rose in the second quarter primarily because of major acquisitions such as Core-

Mark, and falsely claimed only $53 million worth of forward-buys contributed to the increase.

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Dean Foods

107. In July 2002, Thatcher secured another misleading side letter from Dean. One of
Thatcher’s subordinates negotiated an extension of an inventory hauling agreement for three
years for 3200,000. Like the earlier Dean Foods’ supply agreement the initial drafts of the
hauling agreement included payment tenns. Thatcher, however, insisted that Dean remove the
payment provision and mischaracterize the $200,000 extension payment as “past performance.”
Dean complied, and this letter was used to justify recording the entire $200,000 immediately as
income.

Impact on Second Quarter 2002 Financial Results

108. Fleming reported second quarter 2002 pre-tax earnings of $l$.4 million The
forward buys and the Dean side letter inflated this figure by over 60%.

109. Shapiro signed Fleming’s Forrn lO-Q for the second quarter 2002, filed with the
Commission on August 27, 2002, as principal accounting officer. The inflated figures above
were included in this filing They also were included in Fleming’s July 30, 2002 press release
announcing second quarter financial results Shapiro reviewed and approved this release

110. Shapiro also signed a management representation letter to Deloitte, dated ..luly 30,
2002, which Deloitte relied upon in connection with its review of Fleming’s second quarter
financial statements As he had in the first quarter, Shapiro confirmed to Deloitte that the second
quarter 2002 financial statements Deloitte had reviewed were “fairly presented in conformity
with accounting principles generally accepted in the United States of America.” He also
confirmed that Fleming had made available to Deloitte “all financial records and related data that

would have a bearing on the purpose of your review.” Because Shapiro knew that Fleming had

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manipulated its earnings through the use of excessive purchases of unnecessary inventory, these
representations were false.
Fleming Also Manipulated FRG’s Same-Store Sales Figures

111. During 2001 and the first quarter of 2002, Fleming presented FRG as a growth
vehicle for the future. Grocery industry analysts took up this theme, focusing on FRG’s positive
same-store sales growth during this period, which is a key industry performance indicator.
Fleming reported same-store sales in periodic filings with the Commission and in public earnings
releases

112. Although there is no fixed industry standard, retailers typically calculate same-
store sales by comparing a store’s current period sales against its sales for the corresponding
period in the prior year. Fleming followed this methodology through the end of 2000. From the
first quarter of 2001 through the first quarter of 2002, however, Fleming began altering its
methodology (sometimes quarter to quarter) to allow FRG to report positive same-store sales
growth. Fleming, however, failed to disclose the changes to its same-store sales computations

113. As head of FRG, Dahlen continually monitored Fleming’s internal same-store
sales figures and, when Fleming’s sales numbers appeared poised to tumble, added new stores
and different types of stores to the same-store sales comparison Dahlen also gauged how the
numbers would vary if different types of transactions (such as diverting and even postage stamp
and lottery card sales) were included as sales At different times Fleming included in its
calculations stores open less than a full reporting period; stores under remodel; stores operated

by different owners and sometimes compared different stores if they were located “close

enough.”

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ll4. After Dahlen’s arrival, Fleming “tweal<ed” its calculation to include stores and
types of transactions previously excluded Not coincidentally, FRG reported a same-store sales
increase for the first time in years. When, in the third quarter of 2001, the “tweaked” formula no
longer delivered positive numbers, Dahlen added new store types to the calculation that
previously had been excluded Dahlen implemented another change the next quarter, for the
same reason. Fleming never disclosed these changes to investors or otherwise revealed that its
methodology was regularly changing To the contrary, it continued to compare the positive
figures reported in 2001 with less favorable prior period figures calculated under different
methodology

115. Dahlen compounded these undisclosed methodology changes by instigating
several financing transactions disguised as sales near quarter»end that improved FRG’s same-
store sales figures ln these disguised financing transactions, Fleming provided short-term
financing to fund inventory acquisitions by an “opportunity goods” vendor (such vendors buy
liquidation goods at deep discounts, which it then sells to its stable of customers). To justify
recording these as sales, Fleming generated documentation reflecting its purported “purchase” of
the inventory from the vendor at one price and a simultaneous “sale” of the goods to the vendor’s
related company at a slightly higher price. Fleming wired the “purchase” price to the vendor in
return for a promissory note from one of the vendor’s related company (sometimes guaranteed
by the vendor) reflecting the “sale” price. The same person signed all documents on behalf of
the vendor and its related company. Fleming had no role in locating either the goods or the

vendor’s customer. The goods remained under the vendor’s exclusive control, and Fleming

never bore true risks of ownership

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116. When FRG’s sales needed a boost, Dahlen instigated several of these transactions
at the end of 2001 and again at the end of the first quarter of 2002. For example, Fleming
reported same~store sales growth of .7% for the fourth quarter of 2001. Fleming achieved this
deceptive growth, however, only by recording phony “sales” of more than 317 million. But for
these transactions, Fleming would have reported a same-store sales decline of 3%. Dahlen
understood that these were not truly sales, because, when determining the year-end FRG bonus
pool, he removed them from the calculations because they were “gifts” and not real indicators of
FRG’s sales performance

117. Under GAAP, Fleming should only have recorded as interest or other revenue the
“net” difference between the promissory note and the amount Fleming had wired the vendor.
See EITF 99~19, Reporn'ng Revenue Gross as a Princt'pal versus Net as an Agent. Had Fleming
excluded these transactions from its calculations, same-store sales would have been materially
worse throughout 2001 and the first quarter of 2002.

118. ln the second quarter 2002, Fleming returned to a “traditional” same-store sales
calculation Not surprisingly, reported same-store sales promptly dropped precipitously

Fleming’s SEC Filings on Forms S-3, S-4 and S-8
119. Fleming filed the following registration statements with the Commission during

the relevant period, registering offerings of securities to the public:

 

Form type initial Filing date

 

 

 

S-S lune 6, 2002
S-3 April 24, 2002
S-4 July 11, 2002

 

 

 

 

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Fleming also filed with the Commission amendments to certain of these registration statements
Shapiro signed each of these filings as Fleming’s principal accounting officer. Each filing
expressly incorporated by reference the materially false and misleading 2001 Form 10-K, and the
Fonns S-S and S-4 also incorporated Fleming’s materially false and misleading first quarter
Form 10-Q.
Fleming Files Bankruptcy

120. Fleming ultimately could not sustain the illusion that the Defendants’ initiatives
helped create. ln lanuary 2003, Kmart fired Fleming as its supplier, leaving the company with
severe liquidity problems A few months later, Fleming filed Chapter ll bankruptcy

FIRST CLAIM
Violations of Securities Act Section 17(a)

121. Paragraphs 1 through 120 are realleged and incorporated by reference

122. Defendants Shapiro, Murphy, Abbood, and Thatcher, in the offer or sale of
securities have: (a) employed devices schemes or artifices to defraud; Cb) made untrue
statements of material facts and omitted to state material facts necessary in order to make the
statements made, in light of the circumstances under which they were made, not misleading; and
(c) engaged in acts practices and courses of business which operate as a fraud or deceit upon
purchasers prospective purchasers and other persons

123. Defendants Shapiro, Murphy, Abbood, and Thatcher engaged in the conduct
described in this claim knowingly or with severe recklessness ln addition, Defendants Shapiro,

Murphy, Abbood, and Thatcher were negligent as they engaged in the conduct described in this

claim.

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124. By reason of the foregoing, Defendants Shapiro, Murphy, Ahbood, and Thatcher
violated, and unless enjoined, will continue to violate Section l7(a) of the Securities Act [15
U.S.C. §77q].

SECOND CLAIM
Violatic)ns of Exchange Act
Section 10(b) and Rule 10b-5

125. Paragraphs 1 through 120 are realleged and incorporated by reference.

126. Defendants Shapiro, Murphy, Abbood, and Thatcher, in connection with the
purchase or sale of securities have: (a) employed devices schemes or artifices to defraud; (b)
made untrue statements of material factsand omitted to state material facts necessary in order to
make the statements made, in light of the circumstances under which they were made, not
misleading; and (c) engaged in acts practices and courses of business which operate as a fraud or
deceit upon purchasers prospective purchasers and other persons

127. Defendants Shapiro, Murphy, Abbood, and Thatcher engaged in the conduct
described in this claim knowingly or with severe recklessness

128. By reason of the foregoing, Defendants Shapiro, l\/lurphy, Abbood, and Thatcher
violated, and unless enjoined, will continue to violate Section 10(b) of the Exchange Act. [15
U.S.C. § 78j(b)] and Rule 10b-5 117 C.F.R. § 240.10b-5].

THIRD CLAIM
Violations of Exchange Act
Section 13(b)(5) and Rules 13b2-I and 13b2-2
129. Paragraphs l through 120 are realleged and incorporated by reference
130. Defendants Shapiro, Murphy, Abbood, and Thatcher violated Section lB(b)(S) of

the Exchange Act [l$ U.S.C. § 78m(b)(5)] by knowingly circumventing or knowingly failing to

implement a system of internal accounting controls at Fleming, or knowingly falsifying

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Fleming’s books records or accounts Additionally, Defendants Shapiro, Murphy, Abbood, and
Thatcher violated Exchange Act Rule 13b2-1 [17 C.F.R. § 240.13b2-l] by, directly or indirectly,
falsifying or causing to be falsified, the books records or accounts of Fleming subject to Section
13(b)(2)(A) of the Exchange Act [15 U.S.C. § 78m(b)(2)(A)]. Furtherrnore, Defendants Shapiro,
Murphy, Abbood, and Thatcher violated Exchange Act Rule 13b2-2 [17 C.F.R. § 240.13b2»2] by
making, or causing to be made, materially false or misleading statements or omissions to an
accountant or auditor.

131. Unless enjoined, Defendants Shapiro, Murphy, Abbood, and Thatcher will

continue to violate these provisions
FOURTH CLAIM
Aiding and Abetting Fleming’s Violations of
Exchange Act Section 10(b) and Rule 10b-5

132. Paragraphs l through 120 are realleged and incorporated by reference.

133. Based on the conduct alleged herein, Fleming violated Section 10(b) of the
Exchange Act and Rule 10b-5 by filing materially misleading annual and quarterly reports with
the Commission and by making public misrepresentations resulting from the improper revenue
recognition, misrepresentations and omissions and schemes and fraudulent courses of business

l34. Defendants Shapiro, Murphy, Dahlen, Abbood, and Thatcher, in the manner set
forth above, knowingly or with severe recklessness provided substantial assistance to Fleming in
connection with its violations of Section l0(b) and Rule 10b-5.

135. By reason of the foregoing, Defendants Shapiro, l\/lurphy, Dahlen, Abbood, and
Thatcher aided and abetted Fleming’s violations of, and unless restrained and enjoined, will aid

and abet further violations of Section 10(b) of the Exchange Act [15 U.S.C. §§ 78j(b)] and Rule

10b-5 [17 c.F_R. §§ 240.101;~5}.

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FIFTH CLAIM
Aiding and Abetting Fleming’s Violations of Exchange Act
Section 13(a) and Rules 12b-20, 13a-1 and 13a~13

136. Paragraphs l through 120 are realleged and incorporated by reference

137. Based on the conduct alleged herein, Fleming violated Section l3(a) of the
Exchange Act and Rules 12b-20, 13a-1 and l3a~13 thereunder.

138. Defendants Shapiro, Murphy, Dahlen, Abbood, and Thatcher, in the manner set
forth above, knowingly or with severe recklessness provided substantial assistance to Fleming, as
an issuer of a security registered pursuant to Section 12 of the Exchange Act, in its failing to file
with the Corn.mission, in accordance with rules and regulations the Commission has prescribed,
information and documents required by the Commission to keep reasonably current the
information and documents required to be included in or filed with an application or registration
statement filed pursuant to Section 12 of the Exchange Act and annual reports and quarterly
reports as the Commission has prescribed

139. By reason of the foregoing, Defendants Shapiro, Murphy, Dahlen, Abbood, and
Thatcher aided and abetted Fleming’s violations of, and unless restrained and enjoined, will aid
and abet further violations of Section lZ(a) of the Exchange Act [15 U.S.C. § 78m(a)] and Rules
l2b-20, 13a-1 and 13a»13 thereunder [17 C.F.R. §§ 240.12b-20, 240.13a-1 and 240.l3a-l3].

SIXTH CLAIM
Aiding and Abetting Fleming’s Violations of Exchange Act
Sections 13(b}(2)(A) and 13(b)(2)(B)

140. Paragraphs l through 120 are realleged and incorporated by reference

141. Based on the conduct alleged herein, Fleming violated Section l3(b)(2)(A) and

13(b)(2)(B) of the Exchauge Act.

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142. Defendants Shapiro, Murphy, Dahlen, Abbood, and Thatcher, in the manner set
forth above, knowingly or with severe recklessness provided substantial assistance to Fleming in
connection with its failure to make and keep books records and accounts which, in reasonable
detail, accurately and fairly reflected Fleming transactions and dispositions of its assets

143. Defendants Shapiro, Murphy, Dahlen, Abbood, and Thatcher, in the manner set
forth above, knowingly or with severe recklessness provided substantial assistance to Fleming in
connection with its failure to devise and maintain a system of internal accounting controls
sufficient to provide reasonable assurances that transactions are recorded as necessary to permit
preparation of financial statements in conformity with generally accepted accounting principles

144. By reason of the foregoing, Defendants Shapiro, Murphy, Dahlen, Abbood, and
Thatcher aided and abetted Fleming’s violation of, and unless restrained and enjoined, will aid
and abet further violations of Exchange Act Sections 13(b)(2)(A) and 13(b)(2)(B) [15 U.S.C. §
73m(b)(2)(A)l-

REOUEST FOR RELIEF

For these reasons the Commission respectfully requests that the Court enter a judgment:

(a) permanently enjoining Shapiro, Murphy, Abbood, and Thatcher from violating
Section 17(a) of the Securities Act, and violating and aiding and abetting violations of Sections
10(b), 13(a), 13(b)(2)(A), l3(b)(2) (B), and 13(b)(5) of the Exchange Act and Rules 10b-5, 12b-20,
l?>a-l, 13a-13, 13b2-l, and 13b2-2 thereunder;

(b) permanently enjoining Dahlen from violating and aiding and abetting violations
of Sections lO(b), l3(a), 13(b)(2)(A), and 13(b)(2)(B) of the Exchange Act and Rules 10b-5,

l2b-20, 13a-1 and 13a-13 thereunder;

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(c) ordering Shapiro, Murphy, Abbood, and Thatcher to disgorge all ill-gotten gains
with prejudgment interest;

(d) ordering Shapiro, Murphy, Abbood, and Thatcher to pay civil penalties under
Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Sections 21(d)(3) and 21A of the
Exchange Act [15 U.S.C. §§ 78u(d)(3) and 78uAj;

(e) ordering Dahlen to pay a 3100,000 civil penalty under Sections 21(d)(3) and 21A
of the Exchange Act [15 U.S.C. §§ 78u(d)(3) and 78uA];

(f) prohibiting Shapiro, Murphy, Abbood, and Thatcher, under Section 20(e) of the
Securities Act [15 U.S.C. § 77t(d)(4)] and Section 21(d)(2) of the Exchange Act [15 U.S.C. §
78l], from acting as an officer or director of any issuer that has a class of securities registered
under Section 12 of the Exchange Act [15 U.SEC. § 781] or that is required to file reports under

Section 15(d) of the Exchange Act [15 U.S.C. § 780(d)]; and

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(g) granting such other relief as this Court may deem just or appropriate

Dated: September 15, 2005 Respectfully submitted,

/,,.`

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